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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION



CANDACE LONG                                                                         PLAINTIFF

      vs.                                 NO. 10-5238

RORY VOHRWINKLE d/b/a
ROVO LAW FIRM                                                                     DEFENDANT


                               CLERK'S ORDER OF DISMISSAL

       The plaintiff herein, having filed a Notice of Dismissal pursuant to Rule 41(a),

Fed.R.Civ.P.,

       IT IS ORDERED that plaintiff’s complaint be, and hereby is dismissed with

prejudice.

       Dated: April 27, 2011



                               AT THE DIRECTION OF THE COURT

                               CHRISTOPHER R. JOHNSON, CLERK



                                      BY: /s/ S. Cummings
                                           Deputy Clerk
